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                                                       48695
  Message

  From:           Ezra Brettler [ebrettler@google.com]
  Sent:           9/29/2017 11:10:24 PM
  To:             Sierra Feitshans [sierraf@google.com]
  CC:             Gabe Kronstadt [gabekronstadt@google.com]; Andrey Donov [adonov@google.com]; Jessica Mok
                  Limok@google.com]; Ron Zember [zember@google.com] ; Rocky Cole [rtcole@google.com]; Sam Hancock
                  [samhancock@google.com]; David Crary [dcrary@google.com]; Adam Sebestyen [sebee@google.com] ; Bryan
                  Rowley [browley@google .com]
  Subject:        Re: Project Yavin (Formally Demand Project)



  +Bryan


  Hi Gabe,

  As promised , following up with you after Andrey and I had a very helpful meeting with Bryan today
  about Demand Product. Bryan made a fairly convincing case that Demand Product revenue should
  count towards sell-side quota.

  tl;dr:
  •      Demand Product is being positioned as a replacement for "AdX Direct pubs" - i.e. pubs that we
  have AdX relationships with even though they are not on DFP
  •      Once a standardized Demand Product contract is developed, LPS teams will be driving these
  deals, and there is some risk of channel conflict if we don't count this towards LPS quota


  General Demand Product learnings from conversation:
  •      AdX is disadvantaged in "AdX Direct" relationships because AdX does not integrate with other
  ad servers as well as it does with DFP (no dynamic allocation), so AdX does not pass through real-
  time bids to these other ad servers (instead it passes through a "dumb" flat CPM based on historical
  averages)
  o               With move towards Header Bidding, the market is moving towards real-time bidding
  •      Initially, Demand Product will just be offered to a small subset of publishers that are building
  their own proprietary ad servers (e.g. Linkedln and eBay)
  o               It will likely be rolled out as an upsell for pubs who are using "AdX Direct," as the ability
  to pass through real-time bids should lead to Demand Product winning a larger number of
  impressions than AdX was previously
  •      Design doc states that they will "ensure Demand Product margin is more than DRX margin as
  we do not want to create incentive for existing DFP pubs to move from DFP to Demand Product."
  Margin will be dynamic, and probably be on buy-side only (still being finalized), and Bryan believes
  they will be targeting 32%

  Answers to your specific questions:
  1) Who would actually be doing the deals with publishers? (is it LPS or another BO team)
  •      For the Linkedln deal, someone from Chris Maxcy's Emerging BO team is driving the contract
  work, but LPS is assisting
  o             Emerging BO will be driving the contract work in the early stages because we don't
  have a standard contract in place yet
  •      Once standard contract is in place (by end of Q1 or Q2 2018), longer term view is for LPS
  teams to be driving these deals




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